     Case 1:17-cr-00034-JRH-BKE Document 211-1 Filed 01/23/18 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION

UNITED STATES OF AMERICA                    *
                                            *
                            Plaintiffs,     *             NO. 1:17-CR-0034 (BKE)
v.                                          *
                                            *
REALITY LEIGH WINNER                        *
                                            *
                            Defendant.      *
                                            *
* * * * * * * * * * * * * * * * * *         *

                                          ORDER

       Having considered Defendant’s, Reality Leigh Winner’s, Motion for Extension of Time

(the “Motion”) to which the Government does not object:

       IT IS HEREBY ORDERED that the Motion is GRANTED.

       IT IS FURTHER ORDERED that the Defendant's deadline to file her Reply to the

Government's Response to Defendant's Motion in limine and Response to the Government's

Notice of Evidence Under F.R.E. 404(b) is February 5, 2018.



       SIGNED this _____________ day of _________________, 2018.




                                                    THE HONORABLE BRIAN K. EPPS
                                                    MAGISTRATE JUDGE
                                                    U.S. DISTRICT COURT FOR THE
                                                    SOUTHERN DISTRICT OF GEORGIA




                                                1
     Case 1:17-cr-00034-JRH-BKE Document 211-1 Filed 01/23/18 Page 2 of 2




                                CERTIFICATE OF SERVICE

   I hereby certify that on January 23, 2018, I electronically filed the foregoing with the Clerk

of the Court using the ECF system, which sent notification of such filing to counsel of record for

all parties. It was also served in proper format to proposedorders_aug@gas.uscourts.gov.


                                                     /s/ Joe D. Whitley
                                                     JOE D. WHITLEY




                                                2
